Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 1 of 43



    Student Loan Reporting

    This module contains the reporting guidelines for both Federal and Private Student
    Loans. The contents of the two separate sections are detailed below.

    Student Loan Reporting – Federal Loans

     General Reporting Guidelines                                               Page 12-2

     Federal Loans – Lender/Servicer/Secondary Market                           Page 12-3
     Single, Multiple and Consolidated Loans, Deferment or                      Page 12-9
     Forbearance, Loan Defaults and Transfers
     Loan Forgiveness and Discharge                                             Page 12-12
     Total and Permanent Disability (TPD) Discharge Procedures                  Page 12-14
     for Non-defaulted Loans (Standard and VA)
     Total and Permanent Disability (TPD) Discharge Procedures                  Page 12-15
     (Federal Perkins Loan Program)
     Rehabilitated Student Loans and Recalled and Repurchased                   Page 12-16
     Student Loans

     Federal Loans – Reporting Guidelines for Post-Default Loans                Page 12-17
     Special Situations                                                         Page 12-20
     Total and Permanent Disability (TPD) Discharge Procedures                  Page 12-21
     for Non-defaulted FFELP Loans (Standard and VA)
     Total and Permanent Disability (TPD) Discharge Procedures                  Page 12-21
     for Defaulted Loans (Standard and VA)

     Federal Student Loan Glossary of Terms                                     Page 12-22

    Student Loan Reporting – Private Loans

     General Reporting Guidelines                                               Page 12-25

     Private Loans – Lender/Servicer/Secondary Market                           Page 12-26
     Single, Multiple and Refinanced Loans, Deferment or                        Page 12-33
     Forbearance, Loan Sales and Transfers, Co-Signer Release,
     Loan Defaults
     Write-off of Private Student Loan Balances due to Death or                 Page 12-36
     Disability: For private student loans, write-off reporting
     requirements apply following approval by the loan holder.
     Rehabilitated Private Student Loans                                        Page 12-38

     Private Student Loan Glossary of Terms                                     Page 12-42




                                     CREDIT REPORTING RESOURCE GUIDE®                        12-1
                                 Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 2 of 43



    Student Loan Reporting – Federal Loans

   GENERAL REPORTING GUIDELINES
    Reporters of federal student loan information include lenders, servicers, secondary
    markets, collection agencies and the U.S. Department of Education (“ED”).

    The following reporting guidelines refer to all reporters of federal student loan
    information:

       Report data in the standard Metro 2® Format, including the Header Record.

       Report all open accounts on a monthly basis.

       Report transferred, paid, and government claim accounts in the reporting period
        in which they are finalized.

       Do not report accounts prior to the first disbursement.

       Report the complete name, address, social security number and date of birth of
        the consumer.

       In the Identification Number field, report the internal code that identifies the
        lender, secondary market, or guarantor where information is verified. For
        servicers, the Identification Number should refer to the current loan
        owner/holder; e.g., Servicer Name/Dept. of Ed.

       All parties reporting credit information must respond to consumer inquiries.

    Note: The guidelines in this document are specific to your industry and
          should be used in conjunction with specifications in the Metro 2®
          Format. Refer to the Metro 2® Format for detailed information on
          segments and field information.




    12-2                         CREDIT REPORTING RESOURCE GUIDE®
                             Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT        EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 3 of 43


   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
    All fields within the Metro 2® Format are required to be reported for each
    account. The information below describes fields that require specific
    values.

    Do not report a loan until a disbursement has been made.

      Identification Number       For loans reported by a servicer, the Identification Number
      Base Segment, Field 5       should refer to the current loan owner/holder or servicer and
                                  loan owner/holder; e.g., Servicer Name/Dept. of Ed.

                                  Note: Verification of accounts will be done with the servicer.

      Account Type Code           12 (Education) for installment accounts
      Base Segment, Field 9

      Highest Credit or           The Original Loan Amount should be increased for subsequent
      Original Loan Amount        disbursements of a loan, and reduced for disbursements that
      Base Segment, Field         are canceled or returned.
      12
                                  Do not increase the Original Loan Amount as a result of interest
                                  capitalization or fees incurred post-disbursement.

      Terms Duration              Report the maximum number of months allowed for repayment
      Base Segment, Field         of the loan.
      13
                                  For loans in an Income Driven Repayment (IDR) plan, the
                                  Terms Duration should reflect the maximum number of months
                                  allowed for repayment of the loan, which is the number of
                                  months between the start of repayment and when the loan
                                  could be forgiven if not repaid by the borrower, or the fixed
                                  number of months for the IDR plan. For example, a loan being
                                  repaid under the Pay as You Earn Repayment Plan should
                                  always have Terms Duration = 240 months.

                                  While payments are being made toward the Public Service Loan
                                  Forgiveness Program, report Terms Duration based on the
                                  actual repayment plan (i.e., standard, extended or IDR).

                                  When the loan is in a period during which payments are not
                                  required (i.e., initial in-school, grace, deferment, and
                                  forbearance periods), report Terms Duration as blank.

                                  For loans that are no longer guaranteed and are reported as in
                                  collections (Account Status 93 or 62), report a constant of 001.

      Scheduled Monthly           Report the monthly payment amount for the repayment plan in
      Payment Amount,             which the borrower is enrolled during the current reporting
      Base Segment, Field         period.
      15
                                  For loans in an Income Driven Repayment (IDR) plan, report
                                  the amount the consumer is required to pay for each month in
                                  the IDR plan, which can be as low as $0.


                                     CREDIT REPORTING RESOURCE GUIDE®                       12-3
                                 Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 4 of 43


    FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

      Account Status Code          11 = Open account in good standing
      Base Segment, Field
      17A                           For ED-owned loans, Account Status 11 should be reported
                                    until the loan is 90 days or more past the due date as of the
                                    Date of Account Information.

                                    For all other federal student loans, Account Status 11 should
                                    be reported until the loan is at least 60 or 90 days past the
                                    due date as of the Date of Account Information, based on
                                    loan holder requirements.

                                   11 for Income Driven Repayment (IDR) plans when the
                                    Scheduled Monthly Payment Amount = $0

                                   11 with Terms Frequency D and Payment History Profile
                                    Character B — Open account/payments deferred/account was
                                    never in repayment

                                   11 with Terms Frequency D and Payment History Profile
                                    Character D — Open account/payments deferred/account was
                                    previously in repayment

                                    Note: Terms Frequency Code D should be used with Account
                                    Status Code 11 and Amount Past Due = 0 when payments
                                    are not currently required (e.g., deferment, grace period,
                                    forbearance), but there is a future payment obligation, even
                                    if the loan has an unresolved delinquency prior to or during
                                    the deferred period.

                                   78, 80, 82–84 = the appropriate stage of delinquency (60
                                    days to 180 or more days past the due date). Refer to
                                    Account Status 11 above for exceptions due to delayed
                                    delinquency reporting.

                                   13 = Paid/zero balance account (requires Payment Rating)

                                    Note: For paid in full accounts, report the Date Closed. Also,
                                    report both the Current Balance and the Amount Past Due as
                                    zero. Refer to Frequently Asked Question and Answer 39 for
                                    additional guidance on reporting accounts that are paid in
                                    full.

                                   DA = Delete entire account
                                   DF = Delete entire account due to confirmed fraud

                                    Note: Refer to guidance throughout this module for specific
                                    situations on deleting accounts.

                                  (continued)




    12-4                         CREDIT REPORTING RESOURCE GUIDE®
                             Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 5 of 43


    FEDERAL LOANS – LENDER SERVICER/SECONDARY MARKET

      Account Status Code         For federally-guaranteed student loans that are no
      Base Segment, Field         longer guaranteed, the following additional Account Status
      17A                         Codes may be reported for loans that are defaulted, in
      (continued)                 collections, or charged off:

                                     93   =   Account assigned to internal or external collections
                                     97   =   Unpaid balance reported as a loss (charge-off)
                                     62   =   Account paid in full, was a collection account
                                     64   =   Account paid in full, was a charge-off

      Payment History             Refer to Metro 2® Format module for standard guidelines on
      Profile                     reporting up to 24 months of payment history.
      Base Segment, Field
      18                          The Payment History Profile will reflect accounts going from
                                  current to 60 or 90 days delinquent due to delayed delinquency
                                  reporting (refer to Account Status 11 above).

                                  Examples:

                                     332000000000220000000000 (first reported delinquent at
                                      60 days)
                                     004333000000300030000000 (first reported delinquent at
                                      90 days)

                                  For months during which payments were not required (i.e.,
                                  initial in-school, grace, deferment and forbearance periods):

                                     Report value D for loans that were previously in repayment.

                                     Report value B for loans that have never been in
                                      repayment.

                                      Note: If payment history was reported in error (i.e.,
                                      account mistakenly reported as in repayment), report value
                                      D.

                                  When adjusting the initial in-school or grace period status of a
                                  loan that covers one or more months previously reported in the
                                  Payment History Profile, the applicable months should be
                                  updated to reflect character D (no payment history available
                                  this month).




                                      CREDIT REPORTING RESOURCE GUIDE®                         12-5
                                 Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                   EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 6 of 43


    FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
      Special Comment             The Special Comments that apply to Federal Student Loans are
      Base Segment, Field         listed below. No other codes may be reported.
      19
                                     O – when reporting a transfer to another servicer or
                                      guaranty agency that is not due to a loan sale, with the
                                      exception of internal transfers; i.e., ED-owned loans or
                                      defaults reported by a FFELP servicer
                                     AH – when a loan is purchased by another company
                                     AT – when reporting an internal transfer of an ED-owned
                                      loan or a default by a FFELP servicer
                                     AU – when a loan is paid in full for less than the full balance
                                     AW – when the borrower is affected by a natural or
                                      declared disaster. Follow guidance in FAQ 58.

                                  Notes:

                                  Special Comment Code AL (Student Loan assigned to
                                  government) became obsolete for reporting as of April 2020.

                                  Special Comment Code CP (Forbearance) should not be used
                                  for federal student loans. Forbearance should be reported
                                  similarly to deferment, as per FAQ 44.




    12-6                         CREDIT REPORTING RESOURCE GUIDE®
                             Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                 EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 7 of 43


    FEDERAL LOANS – LENDER /SERVICER/SECONDARY MARKET
      FCRA Compliance/Date          Refer to Metro 2® Format module and Exhibit 9 (Explanation
      of First Delinquency          and Examples of FCRA Compliance/Date of First Delinquency)
      (DOFD)                        for standard guidelines on reporting DOFD according to
      Base Segment, Field           hierarchy rules.
      25
                                    Regarding hierarchy rules 1 and 2: Report the date of the first
                                    30-day delinquency that led to the Account Status or Payment
                                    Rating being reported even though reporting of delinquency is
                                    delayed until the loan is 60 or 90 days past the due date.
                                    When the Account Status is 11 (Current), report Date of First
                                    Delinquency = 0. However, when reporting delinquent
                                    statuses, do not change/update the Date of First Delinquency
                                    unless the borrower has brought the account back to less than
                                    30 days past the due date. A borrower may be less than 60 or
                                    90 days past the due date (i.e., Account Status 11) without
                                    triggering a change to the Date of First Delinquency.

                                    Example:

                                    Refer to table below for example of DOFD reporting for loans
                                    that may not be reported as delinquent until 90 days past the
                                    due date.

       Date of                             # of Days
                         Next Payment                    Account Status
       Account                             Past Due                       Date of First Delinquency
                         Due Date                        and Definition
       Information                         Date                           (Field 25)
                         (not reported)                  (Field 17A)
       (Field 24)                          (not rptd.)
                                                               11
       03/31/2019            04/15/2019         0                                   Zero fill
                                                            (Current)
       04/30/2019            04/15/2019        15              11                    Zero fill
       05/31/2019            04/15/2019        46              11                    Zero fill
       06/30/2019            04/15/2019        76              11                    Zero fill
                                                               80                 05/15/2019
       07/31/2019            04/15/2019        107        (90-119 days           (30 days after
                                                            past due)        04/15/2019 due date)
       08/31/2019            06/15/2019        77              11                    Zero fill
                                                                                  05/15/2019
                                                                            (DOFD does not reset;
       09/30/2019            06/15/2019        107             80
                                                                           borrower never less than
                                                                              30 days delinquent)
       10/31/2019            08/15/2019        77              11                    Zero fill
       11/30/2019            10/15/2019        46              11                    Zero fill
                                                                                     Zero fill
                                                                            (Borrower less than 30
       12/31/2019            12/15/2019        16              11           days delinquent; DOFD
                                                                               will reset if future
                                                                                  delinquency)
       01/31/2020            12/15/2019        47              11                    Zero fill
       02/28/2020            12/15/2019        75              11                    Zero fill
                                                                                  01/14/2020
       03/31/2020            12/15/2019        106             80                (30 days after
                                                                             12/15/2019 due date)

                                       CREDIT REPORTING RESOURCE GUIDE®                         12-7
                                   Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452     INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                 EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 8 of 43


    FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

      Date of Last Payment         Report the date the most recent payment was received
      Base Segment, Field          whether a partial or full payment was made.
      27
                                   For loans in an Income Driven Repayment (IDR) plan, when
                                   the Scheduled Monthly Payment Amount = 0 and the Actual
                                   Payment Amount = 0, report the payment due date within the
                                   current reporting period as the Date of Last Payment.

      Consumer Information         Used to specify that a consumer’s student loan has been
      Indicator                    included in bankruptcy or a consumer cannot be located. Refer
      Base Segment Field 38        to Exhibit 11 for a list of available indicators.
      J1 and J2 Segments –
      Field 11                     Note: Refer to FAQ 23 for guidelines on reporting an account
                                   when a consumer files bankruptcy, but the student loan is not
                                   included in the bankruptcy discharge.

      K4 Segment                   Report for deferred loans:
      Deferred Payment              Specialized Payment Indicator = 02 (Deferred payment)
      information                   Deferred Payment Start Date = date the first payment is
                                      due. If not available, report the date on which the deferred
                                      period will end.

                                   Note: If neither date is available, do not report the K4
                                   Segment.

      L1 Segment                   When account history can be verified, report one time when
      Consumer Account             account numbers change due to an account acquisition or
      Number Change                internal account number change.

                                   Refer to FAQ 46 for guidelines on reporting when account
                                   history cannot be verified by the new servicer.




    12-8                         CREDIT REPORTING RESOURCE GUIDE®
                             Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                 EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 9 of 43


    FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

      Single, Multiple and Consolidated Loans, Deferment or Forbearance,
      Loan Defaults and Transfers
      Multiple disbursements         When a loan has multiple disbursements, report the loan as
      of a single loan               one account.

                                        Retain and do not change the original Consumer Account
                                         Number when additional disbursements are reported.

                                        Retain and do not change the original Date Opened after
                                         the loan is reported.

                                        Update the Original Loan Amount, Current Balance, and
                                         Scheduled Monthly Payment Amount (when in
                                         repayment) as applicable, to include totals for all
                                         disbursements. Reduce these amount fields as
                                         applicable, due to the amount of any canceled or
                                         returned disbursements.

                                         Example: If the loan is for $10,000 and the first
                                         disbursement is for $2,000, report the Original Loan
                                         Amount field as $2,000. If an additional disbursement is
                                         made for $8,000, increase the Original Loan Amount to
                                         $10,000. If the $2,000 disbursement is subsequently
                                         canceled, reduce the Original Loan Amount to $8,000.

                                        If all disbursements are canceled or returned, report
                                         Account Status DA to delete the account.

      Multiple loans                 Multiple loans must be reported as separate accounts.

      Consolidated loans             When a loan is paid in full through consolidation, report the
                                     loan with Account Status Code 13 and the appropriate
                                     Payment Rating.

                                     The new consolidation loan, which paid the underlying loans
                                     in full, must be reported as a new account.


    (continued)




                                     CREDIT REPORTING RESOURCE GUIDE®                       12-9
                                 Copyright 2020 © Consumer Data Industry Association
    CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 10 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
     Loans in deferment or          Report federal student loans in deferment or forbearance as
     forbearance                    deferred. Refer to Frequently Asked Question and Answer
                                    44 for specific reporting guidance.

     Loans transferred to           Follow the standard guidelines in Frequently Asked Question
     another servicer or            and Answer 46 for servicing transfers.
     lender
                                       Report Special Comment Code AT for ED-owned loans.
                                       Report Special Comment Code O or AT (as applicable)
                                        for guaranteed loans.

                                    Follow the standard guidelines in Frequently Asked Question
                                    and Answer 47 for transfers as a result of a loan sale.

     Loans transferred in           Follow the standard guidelines in Frequently Asked Question
     from another servicer          and Answers 46 for servicing transfers and 48 for transfers
     or lender                      in as a result of a loan purchase.

     ED-owned loans                 Follow the standard guidelines in Frequently Asked Question
     transferred to ED due          and Answer 46 for servicing transfers. Report Special
     to default or ineligible       Comment Code AT to denote an internal transfer.
     borrower
     Guaranteed loans               Follow the standard guidelines in Frequently Asked Question
     transferred to                 and Answer 46 for servicing transfers. Report Special
     Guaranty Agency due            Comment Code O or AT, as applicable.
     to default/claim
     payment or bankruptcy

   (continued)




   12-10                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT             EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 11 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

     Federally guaranteed           Follow the standard guidelines in Frequently Asked Question
     loans that are no              and Answer 46 for servicing transfers. Report Special
     longer guaranteed              Comment Code O or AT, as applicable.
     (i.e., unreinsured
     loans) that                    Report Account Status Code 97 with the applicable Special
     default/charge off and         Comment Code if the loan was charged off at the time of
     transfer from the              transfer, or Account Status Code 93 if in collections at the
     servicer to another            time of transfer.
     entity at the time of
     default/charge off

     Defaulted federal loans        If the loans have been charged off, follow the standard
     that are no longer             guidelines in Frequently Asked Questions and Answers 34 or
     guaranteed (i.e.,              65, as applicable.
     unreinsured loans) and
     are not transferred at         Loans that have defaulted and are in collections should be
     the time of                    reported with Account Status 93 and the Current Balance
     default/charge-off             and Amount Past Due = outstanding balance amount.
                                    Account Status 62 must be reported when the loan is paid in
                                    full.

                                    As an option, loans that have defaulted and are in collections
                                    may be reported with the applicable level of delinquency
                                    rather than Account Status 93. When using this option,
                                    Account Status Code 13 should be reported when the
                                    account is paid in full.

                                    In all situations, if the account is settled for less than the
                                    outstanding balance, follow the guidance in Frequently
                                    Asked Question and Answer 38, which requires reporting
                                    Special Comment Code AU along with the applicable paid
                                    status.




                                    CREDIT REPORTING RESOURCE GUIDE®                         12-11
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                   EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 12 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
     Loan Forgiveness and Discharge

     For guaranteed federal loans, the forgiveness or discharge reporting
     requirements apply following approval and payment of the claim by the
     guarantor.
     Loans forgiven due to          If the account is partially forgiven, reduce the Current
     Borrower Defense to            Balance to reflect the amount remaining after the partial
     Repayment                      forgiveness and update the Payment History Profile with
                                    character D for months prior to approval of the partial
                                    forgiveness. Continue reporting the account normally in
                                    subsequent reporting periods.

                                    If the loan is completely forgiven, report Account Status
                                    Code DA to delete the account.

     Loans forgiven due to          If the loan is partially forgiven, reduce the Current Balance
     Teacher Loan                   to reflect the amount remaining after the partial forgiveness.
     Forgiveness
                                    If the loan is completely forgiven and had been in
                                    repayment prior to being forgiven, report Account Status
                                    Code 13, Payment Rating 0, Current Balance 0 and Amount
                                    Past Due 0 to indicate a paid/closed account, along with the
                                    appropriate Date Closed.

                                    If the loan is completely forgiven, but had never been in
                                    repayment, report Account Status Code DA to delete the
                                    account.

     Loans forgiven due to          Report Account Status Code 13, Payment Rating 0, Current
     Public Service Loan            Balance 0 and Amount Past Due 0 to indicate a paid/closed
     Forgiveness                    account, along with the appropriate Date Closed.

     Loans forgiven or paid         Report Account Status Code 13, Payment Rating 0, Current
     in full upon completion        Balance 0 and Amount Past Due 0 to indicate a paid/closed
     of an income-driven            account, along with the appropriate Date Closed.
     repayment (IDR) plan
     Loans discharged due           Report Account Status Code DA to delete the account.
     to school closure
     Loans discharged due           Report Account Status Code DF to delete the account.
     to False Certification
     or, prior to discharge,
     when the loan is
     determined to be the
     result of identity theft
     Loans discharged due           Report Account Status Code DA to delete the account.
     to Unpaid Refund

   (continued)




   12-12                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 13 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
     Loans discharged due           If the loan had been in repayment prior to the student’s
     to the death of a              death, report Account Status Code 13, Payment Rating 0,
     student who is not a           Current Balance 0, and Amount Past Due 0 to indicate a
     party to the loan (e.g.,       paid/closed account, along with the appropriate Date Closed.
     Parent PLUS Loan or            The Payment History Profile should be updated to reflect
     Consolidated Loan that         value D for months between the date of death and the
     includes a Parent PLUS         reporting period in which the loan is reported with Account
     Loan)                          Status Code 13.

                                    If the loan had never been in repayment, report Account
                                    Status Code DA to delete the account.

                                    ECOA Code X should not be reported because the student
                                    that is deceased is not a party to the loan. ECOA Code X
                                    must be reported only when a party to the loan is deceased.
                                    Refer to Frequently Asked Question and Answer 19 for
                                    reporting when a party to the loan is deceased.

     Loans discharged due           If the loan had been in repayment prior to the death of a
     to the death of a party        party to the loan, report Account Status Code 13, Payment
     to the loan                    Rating 0, Current Balance 0, and Amount Past Due 0 to
                                    indicate a paid/closed account, along with the appropriate
                                    Date Closed. Report ECOA Code X in the applicable Base or
                                    J1/J2 Segment for the deceased party as described in
                                    Frequently Asked Question and Answer 19.

                                    If the loan had never been in repayment, report Account
                                    Status Code DA to delete the account.




                                    CREDIT REPORTING RESOURCE GUIDE®                   12-13
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT             EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 14 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

      Total and Permanent Disability (TPD) Discharge Procedures for
      Non-defaulted Loans (Standard and VA)
      Initial indication of         When notice is received from ED that the borrower has
      interest in TPD               indicated interest in a TPD discharge and collection activities
      discharge by borrower         are suspended for 120 days, report the account as deferred.
                                    Refer to Frequently Asked Question and Answer 44 for
                                    specific reporting guidelines. Do not report Special
                                    Comment CP.

      Initial TPD application       When notice is received from ED that the borrower has
      filed by borrower             applied for a TPD discharge and collection activities are
                                    suspended, report the account as deferred. Refer to
                                    Frequently Asked Question and Answer 44 for specific
                                    reporting guidelines. Since the Deferred Payment Start Date
                                    will not be known, do not report the K4 Segment. Do not
                                    report Special Comment CP.

      TPD discharge not             If the discharge is not approved, stop reporting the account
      approved                      as deferred and resume reporting the account normally
                                    going forward.

                                    The “D’s” reported in the Payment History Profile during the
                                    deferral time period should not be removed.

      TPD discharge                 Report the account with the following Base Segment fields:
      approved
                                       Account Status Code = 13 (Paid)

                                        Note: If the TPD effective date is prior to the date the
                                        loan entered repayment, or is prior to the date that the
                                        lender or servicer began reporting the loan, report
                                        Account Status DA to delete the account.

                                       Payment Rating = 0 (Current; since no payments were
                                        due within this reporting period)

                                       Payment History Profile = Report value D (no payment
                                        history available this month) in the positions
                                        representing the months going back to the TPD effective
                                        date. Adjustments to months earlier than the previous
                                        24 months prior to the Date of Account Information must
                                        be corrected by submitting an AUD through e-OSCAR®.

                                        Note: Any delinquencies that occurred prior to the TPD
                                        effective date should remain on the file and should not
                                        be deleted.


                                    (continued)




   12-14                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                 EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 15 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
      TPD discharge                    Current Balance and Amount Past Due = 0
      approved
      (continued)                      Date of Account Information = Report a date within the
                                        current month’s reporting period even if the paid
                                        effective date was in a prior month. Refer to Frequently
                                        Asked Question and Answer 39.

                                       Date Closed = Date the TPD discharge was approved by
                                        ED.

                                    Notes:
                                    If notified by a subsequent servicer that the TPD effective
                                    date was during the period that a prior servicer was
                                    responsible for reporting the account, the prior servicer
                                    should also follow the reporting guidelines outlined above.

                                    If a loan discharged under Standard TPD is reinstated within
                                    3 years, a new account will have to be reported by the
                                    current servicer because the discharged account was
                                    reported as paid. The new account should be reported with
                                    Account Status 11 (current).



      Total and Permanent Disability (TPD) Discharge Procedures
      (Federal Perkins Loan Program)
      Non-defaulted loans              Follow the standard guidelines in Frequently Asked
                                        Question and Answer 46; option 2 to report the account
                                        as transferred.

                                       Any credit history already established by the borrower
                                        will be retained for historical credit reporting purposes.

                                       No further reporting by the school is required. ED will be
                                        responsible for reporting the loan after assignment.

      Defaulted loan                   Follow the standard guidelines in Frequently Asked
                                        Question and Answer 46; option 2 to report the account
      (previously reported              as transferred.
      by the school as
      Account Status 93                All collection history already reported will be retained for
      (collection)                      historical credit reporting purposes.

                                       No further reporting by the school is required. ED will be
                                        responsible for reporting the loan after assignment.




                                    CREDIT REPORTING RESOURCE GUIDE®                        12-15
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                  EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 16 of
                                      43

   FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

      Rehabilitated Student Loans and Recalled and Repurchased Student
      Loans
      Section 428F(a)(1)(A) of the Higher Education Act of 1965 was amended by the Higher
      Education Opportunity Act of 2008 to require that, upon the rehabilitation of a defaulted
      loan, the holder of the loan must request any consumer reporting agency to which the
      guaranty agency or holder had reported the default of the loan to remove the record of
      default from the borrower’s credit history.

      Recall and repurchase occurs for federal student loans after a loan is reported as
      defaulted and an event occurs that restores the loan to its prior status. In this case, the
      credit report must be updated in the same manner as a rehabilitated student loan.

      Since defaulted federal student loans are reported as transferred, there is no clear
      “notice of default” to remove from the reported account.

      If the student loan is rehabilitated, the new or previous lender should report the loan as
      a new account going forward. Payment history reported prior to the default should not
      be included with the new account.


      IMPORTANT NOTE: Contact your data representatives at the consumer
      reporting agencies to ensure that previously-reported “defaults” have been
      removed.




   12-16                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                 EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 17 of
                                      43

   FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS
   The following guidance is specific to reporting by the guarantor or its
   servicer/agent. All fields within the Metro 2® Format are required to be reported
   for each account. The information below describes fields that require specific
   values.

       Do not report the account during the review period.
       Do not report the account if it is returned to the lender.
       Do not report the account if it was transferred to the guarantor due to a claim payment
        for any reason other than default for non-payment.
       Guaranty agencies should follow the reporting guidelines for Lender/Servicer/Secondary
        Market when reporting loans that are not guaranteed by the federal government.

       Consumer Account           Report the new number as assigned by the guaranty agency.
       Number
       Base Segment, Field 7      Note: Do not report the consumer’s Social Security Number in
                                  whole or in part within the Consumer Account Number.

       Portfolio Type             O (Open)
       Base Segment, Field 8
       Date Opened                Report the date the defaulted claim was paid to the lender.
       Base Segment, Field 10
       Highest Credit/Original    Report the claim amount that was paid to the lender.
       Loan Amount
       Base Segment, Field 12
       Terms Duration             001 (one payment as scheduled)
       Base Segment, Field 13
       Terms Frequency            Blank
       Base Segment, Field 14
       Account Status Code        Report only the following:
       Base Segment, Field
       17A                            93 = Account assigned to internal or external collections.
                                       (Account Status 93 should be reported immediately after
                                       the review period if the account is retained.)
                                      62 = Account paid in full/was a collection account.

                                  Notes:
                                  If a consumer is making payments, continue to report the
                                  account with Account Status Code 93, but report the declining
                                  balance.

                                  If accounts are turned over to a Collection Agency and the
                                  Collection Agency reports the accounts to the credit reporting
                                  agencies, the guaranty agency should report the accounts as
                                  Status DA to delete them. These accounts cannot be reported
                                  by both agencies, causing duplication. The FCRA
                                  Compliance/Date of First Delinquency should contain the date
                                  of the first delinquency with the original lender that led to the
                                  default. The K1 Segment should contain the complete name of
                                  the original lender/servicer/secondary market to whom the
                                  claim was paid, as well as Creditor Classification Code 07.




                                      CREDIT REPORTING RESOURCE GUIDE®                    12-17
                                 Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 18 of
                                      43

   FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS
       FCRA Compliance/Date       Report the date of the first delinquency with the original
       of First Delinquency       lender that led to the loan being transferred to the guaranty
       (DOFD)                     agency. If multiple defaults are reported as one loan
       Base Segment, Field 25     (compressed), the Date of First Delinquency must be the date
                                  of the first delinquency that led to the earliest default.

                                  Note:
                                  Effective March 31, 2004, the FCRA 1 states that “provided that
                                  the consumer does not dispute the information, a person that
                                  furnishes information on a delinquent account that is placed
                                  for collection, charged for profit and loss, or subjected to any
                                  similar action, complies with this paragraph, if –

                                  (i) the person reports the same date of delinquency as that
                                  provided by the creditor to which the account was owed at the
                                  time at which the commencement of the delinquency occurred, if
                                  the creditor previously reported that date of delinquency to a
                                  consumer reporting agency;

                                  (ii) the creditor did not previously report the date of
                                  delinquency to a consumer reporting agency, and the person
                                  establishes and follows reasonable procedures to obtain the
                                  date of delinquency from the creditor or another reliable source
                                  and reports that date to a consumer reporting agency as the
                                  date of delinquency; or

                                  (iii) the creditor did not previously report the date of
                                  delinquency to a consumer reporting agency and the date of
                                  delinquency cannot be reasonably obtained as provided in
                                  clause (ii), the person establishes and follows reasonable
                                  procedures to ensure the date reported as the date of
                                  delinquency precedes the date on which the account is placed
                                  for collection, charged to profit or loss, or subjected to any
                                  similar action, and reports such date to the credit reporting
                                  agency.”




   1
       Fair Credit Reporting Act Section 623 (a) (5)

   12-18                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 19 of
                                      43

   FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS
     Consumer Information         Used to specify that a consumer’s student loan has been
     Indicator                    included in bankruptcy or a consumer cannot be located.
     Base Segment, Field          Refer to Exhibit 11 in the Metro 2® Format for a list of
     38; J1/J2 Segment,           available indicators.
     Field 11
                                  When a defaulted loan is included in a bankruptcy filing, the
                                  guaranty agency should report the account with Account
                                  Status 93 and the applicable bankruptcy CII.

                                  If the account is reported by the guaranty agency during the
                                  bankruptcy and is repurchased by the lender at the conclusion
                                  of the bankruptcy, the guaranty agency should report Account
                                  Status DA to delete the account.

                                  Notes: Refer to FAQ 23 for guidelines on reporting an account
                                  when a consumer files bankruptcy, but the student loan is not
                                  included in the bankruptcy discharge.

                                  Non-defaulted loans that were claim paid by the guaranty
                                  agency due to a bankruptcy should not be reported by the
                                  guaranty agency.

     K1 Segment                   Report the complete name of the lender to whom the claim
                                  was paid in the Original Creditor Name field. Also, report
                                  Creditor Classification Code 07 to indicate Educational.

                                  Note: The K1 Segment is required for all accounts
                                  reported, regardless of Account Status Code.




                                    CREDIT REPORTING RESOURCE GUIDE®                     12-19
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 20 of
                                      43

   FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS

      Special Situations
      Rehabilitated loans           Report Account Status Code DA to delete the account when
                                    it is transferred to a lender.

                                    Note: The transferred account reported by the original
                                    lender will remain on file until purged according to FCRA
                                    guidelines.

      Accounts sent to ED           Report Account Status Code DA to delete the account.
      (Guaranty agencies
      only)
      (See row below for
      exception)
      Loans that have been          Report Account Status Code 62.
      Consolidated and
      Transferred to ED
      Accounts with a               Report Account Status Code 62 (paid account/was a
      Balance and Consumer          collection account) and ECOA Code X.
      who is responsible for
      payments is deceased          If date of death of the consumer who is responsible for
                                    payments is prior to the first reporting by the guaranty
                                    agency, do not report the account.

      Accounts where                Report Account Status Code DA to delete the account.
      student is deceased
      and the parent is
      responsible for
      payments
      Guaranty Agencies             Contact the Consumer Data Industry Association (CDIA) to
      dissolving or                 determine the appropriate steps in the reporting process
      undergoing                    that would be unique to the agency’s specific situation.
      bankruptcy
      Loans discharged due          Report Account Status Code DA to delete the account.
      to school closure
      Loans discharged due          Report Account Status DF to delete the account.
      to identify theft or,
      prior to discharge,
      when it is determined
      that the loan is the
      result of identity theft
      Loans that have an            Report Account Status 62 and Special Comment AU. Note
      unpaid tuition refund         that the student paid the percentage of tuition owed and the
                                    remainder of the tuition was forgiven.




   12-20                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 21 of
                                      43

   FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS

      Total and Permanent Disability (TPD) Discharge Procedures for
      Non-defaulted FFELP Loans
      (Standard and VA)
      Do not report the account when a TPD claim is filed on a non-defaulted loan.




      Total and Permanent Disability (TPD) Discharge Procedures for
      Defaulted Loans
      (Standard and VA)
      Initial indication of         When notice is received from ED that the borrower has
      interest in TPD               indicated interest in a TPD discharge, continue to report the
      discharge by borrower         account as in collections (Account Status Code 93).

      Initial TPD application       When notice is received from ED that the borrower has
      filed by borrower             applied for a TPD discharge, continue to report the account
                                    as in collections (Account Status Code 93).

      TPD discharge not             If the discharge is not approved, continue reporting the
      approved                      account normally going forward.

      TPD discharge                 Report the account with the following Base Segment fields:
      approved
                                       Account Status Code = 62 (Paid in full/was a collection
                                        account)
                                        Note: If the TPD effective date is prior to the date the
                                        guaranty agency or ED began reporting the loan, report
                                        Account Status DA to delete the account.

                                       Current Balance and Amount Past Due = 0
                                       Date of Account Information = Even though the Account
                                        Status is 62, report a date within the current month’s
                                        reporting period.
                                       Date Closed = Date the TPD discharge was approved by
                                        ED.

                                    Notes:
                                    If notified by the guaranty agency or ED that the TPD
                                    effective date was prior to default and during the period that
                                    a prior servicer was responsible for reporting the account,
                                    the prior servicer should follow the reporting guidelines
                                    outlined above in the Lender/Servicer/Secondary Market
                                    Reporting Guidelines.

                                    If a loan discharged under Standard TPD is reinstated within
                                    3 years, a new account will have to be reported because the
                                    discharged account was reported as paid in full. If Account
                                    Status 93 is reported on the new account, the original Date
                                    of First Delinquency must be reported.




                                    CREDIT REPORTING RESOURCE GUIDE®                     12-21
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 22 of
                                      43

   FEDERAL STUDENT LOAN GLOSSARY OF TERMS
   Borrower Defense to Repayment
   Loan forgiveness for borrowers who took out federal student loans to attend a school if
   that school misled the borrower, or engaged in other misconduct in violation of certain
   state laws. The borrower must demonstrate that the school, through an act or
   omission, violated state law directly related to the borrower’s federal student loan or to
   the educational services for which the loan was provided. In order for a student loan to
   be forgiven, the borrower must have approval from the U.S. Department of Education
   or a state court.

   Closed School Loan Discharge
   Relief for borrowers who could not complete their program because the school closed
   while they were enrolled or borrowers who withdrew not more than 120 days before the
   school closed. In order for a student loan to be discharged, the student must have
   approval from the U.S. Department of Education.

   False Certification
   Relief for borrowers for whom the school falsified the borrower's name on either the
   loan application or disbursement authorization, unless the student received the
   proceeds of the loan.

   Grace Period
   The period of time between the end of the initial in-school period and the date
   repayment of the student loan is expected to begin.

   Guaranty Agency
   A state or private nonprofit organization that has an agreement with the Secretary of
   the U.S. Department of Education, under which the organization will administer a
   student loan guarantee program under the Federal Family Education Loan Program
   (FFELP). The guaranty agency pays a claim to the original lender when a student
   defaults on a FFELP loan.

   Income Driven Repayment (IDR) Plans
   Federal student loans may be repaid under one of several repayment plans which sets
   the borrower’s monthly student loan payment at an amount that is intended to be
   affordable based on the borrower’s income and family size.

   Initial In-School Period
   The period of time immediately following the loan disbursement when the borrower is
   attending school and repayment is not required.

   Lender
   A bank, credit union, savings and loan association, insurance company, or other lending
   institution, which makes or holds loans under the Federal Family Education Loan
   Program (FFELP) and is subject to examination and supervision by an agency of the
   United States.




   12-22                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT          EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 23 of
                                      43

   FEDERAL STUDENT LOAN GLOSSARY OF TERMS
   Public Service Loan Forgiveness
   Borrowers may be eligible for forgiveness of their Direct Loans if they make 120
   monthly payments on the loans after Oct. 1, 2007, under certain repayment plans,
   while the borrower is employed full-time in a qualifying public service job. The borrower
   must not be in default and may not apply for forgiveness until after all of the required
   120 qualifying monthly payments have been made.

   Rehabilitated Loans
   Federal student loans that were previously in collections with a guarantor or the U.S.
   Department of Education. The rehabilitation process requires that the student agree, in
   writing, to make nine voluntary, reasonable, and affordable monthly payments (as
   determined by the loan holder) within 20 days of the due date; and must make all nine
   payments during a period of 10 consecutive months. At that time, the loan can then be
   resold to a new lender or the original lender. When loans are rehabilitated, the original
   lender and guarantor are required to remove the record of default from the consumer’s
   credit history. However, the credit history will still reflect late payments that were
   reported by the loan holder before the loan went into default.

   Secondary Market
   An entity which purchases student loan obligations from participating lenders in a
   secondary market and pays lenders par, premium or discount on the original principal
   balance of the note. A secondary market may also service the loans that it purchases.

   Servicer
   An organization that services (i.e., processes) a student loan debt following origination,
   to ensure due diligence of the debt with respect to enforcement of the terms of the
   promissory note as defined under Federal regulations. A servicer collects payments,
   responds to customer service inquiries, and performs other administrative tasks
   associated with maintaining a federal student loan on behalf of a lender.

   Teacher Loan Forgiveness
   A portion of the Federal Family Education Loan (FFEL) program whereby the Secretary
   of the U.S. Department of Education repays portions of student loans. To qualify, the
   student must meet certain criteria, such as teaching, nursing, or volunteering through
   the Peace Corps.




                                    CREDIT REPORTING RESOURCE GUIDE®                  12-23
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT           EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 24 of
                                      43


   FEDERAL STUDENT LOAN GLOSSARY OF TERMS
   Total and Permanent Disability Discharge
   Relief for borrowers who provide one or more of the following types of documentation:
   1) Documentation from the U.S. Department of Veterans Affairs (VA) showing that the
   VA has determined that the borrower is unemployable due to a service-connected
   disability; 2) Social Security Administration (SSA) notice of award for Social Security
   Disability Insurance (SSDI) or Supplemental Security Income (SSI) benefits stating that
   the borrower’s next scheduled disability review will be within five to seven years from
   the date of the borrower’s most recent SSA disability determination; or 3) Certification
   from a physician that the borrower is totally and permanently disabled. The physician
   must certify that the borrower is unable to engage in any substantial gainful activity
   because of a medically determinable physical or mental impairment that can be
   expected to result in death, has lasted for a continuous period of not less than 60
   months, or can be expected to last for a continuous period of not less than 60 months.
   In order for a student loan to be discharged, the borrower must have approval from the
   U.S. Department of Education.




   12-24                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT        EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 25 of
                                      43


   Student Loan Reporting – Private Loans

   GENERAL REPORTING GUIDELINES
   Reporters of private student loan information include lenders, servicers and
   secondary markets.

   The following reporting guidelines refer to all reporters of private student loan
   information:

      Report data in the standard Metro 2® Format, including the Header Record.

      Report all open accounts on a monthly basis.

      Report sold, transferred and paid accounts in the reporting period in which they
       are finalized.

      Do not report accounts prior to the first disbursement.

      Report the complete name, address, social security number and date of birth of
       the consumer.

      In the Identification Number field, report the internal code that identifies the
       lender or secondary market where information is verified. For servicers, the
       Identification Number should refer to the current loan owner/holder; e.g.,
       Servicer Name/Loan Owner Name.

      All parties reporting credit information must respond to consumer inquiries.

   Note: The guidelines in this document are specific to your industry and
         should be used in conjunction with specifications in the Metro 2®
         Format. Refer to the Metro 2® Format for detailed information on
         segments and field information.




                                    CREDIT REPORTING RESOURCE GUIDE®                  12-25
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT           EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 26 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
   All fields within the Metro 2® Format are required to be reported for each
   account. The information below describes fields that require specific
   values.

   Do not report a loan until a disbursement has been made.

     Identification Number       For loans reported by a servicer, the Identification Number
     Base Segment, Field 5       should refer to the current loan owner/holder or servicer and
                                 loan owner/holder; e.g., Servicer Name/Loan Owner Name.

                                 Note: Verification of accounts will be done with the servicer.

     Account Type Code              12 (Education) for installment accounts with Portfolio Type I
     Base Segment, Field 9           (Installment)
                                    15 (Line of Credit) for education line of credit accounts with
                                     Portfolio Type C (Line of Credit)

     Highest Credit or           The Highest Credit or Original Loan Amount should be
     Original Loan Amount        increased for subsequent disbursements of a loan, and reduced
     Base Segment, Field         for disbursements that are canceled or returned.
     12
                                 Do not increase this amount as a result of interest
                                 capitalization or fees incurred post-disbursement.

                                 Note: Accounts with Account Type 12 report the original
                                 amount of the loan. Accounts with Account Type 15 report the
                                 Highest Credit Amount.

     Terms Duration              For installment loans, report the maximum number of months
     Base Segment, Field         allowed for repayment of the loan.
     13
                                 For line of credit accounts, report a constant of LOC.

                                 When the loan is in a period during which payments are not
                                 required (i.e., initial in-school, grace, deferment, and
                                 forbearance periods), report Terms Duration as blank.

                                 For loans that are reported as in collections (Account Status 93
                                 or 62) or charged off (Account Status 97 or 64), continue to
                                 report Terms Duration normally. Do not report a constant of
                                 001.




   12-26                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 27 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

     Account Status Code          11 = Open account in good standing
     Base Segment, Field
     17A                          For those private student loans that are subject to delayed
                                  delinquency reporting based on loan holder requirements,
                                  Account Status 11 should be reported until the loan is 60
                                  days past the due date as of the Date of Account Information.

                                  11 with Terms Frequency D and Payment History Profile
                                   Character B = Open account/payments deferred/account was
                                   never in repayment

                                  11 with Terms Frequency D and Payment History Profile
                                   Character D = Open account/payments deferred/account was
                                   previously in repayment or was previously reported as in
                                   repayment

                                  Note: Terms Frequency Code D should be used with Account
                                  Status Code 11 and Amount Past Due = 0 when payments
                                  are not currently required (e.g., deferment, grace period,
                                  forbearance), but there is a future payment obligation.

                                  71, 78, 80, 82–84 = the appropriate stage of delinquency (30
                                   days to 180 or more days past the due date). Refer to
                                   Account Status 11 above for exceptions due to delayed
                                   delinquency reporting.

                                  13 = Paid/zero balance account (requires Payment Rating)

                                  Note: For paid in full accounts, report the Date Closed. Also,
                                  report both the Current Balance and the Amount Past Due as
                                  zero. Refer to Frequently Asked Question and Answer 39 for
                                  additional guidance on reporting accounts that are paid in
                                  full.

                                  93 = Account assigned to internal or external collections

                                  97 = Unpaid balance reported as a loss (charge-off)

                                  62 = Account paid in full, was a collection account

                                  64 = Account paid in full, was a charge-off

                                  DA = Delete entire account
                                  DF = Delete entire account due to confirmed fraud

                                  Note: Refer to guidance throughout this module for specific
                                  situations on deleting accounts.




                                    CREDIT REPORTING RESOURCE GUIDE®                     12-27
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 28 of
                                      43

   PRIVATE STUDENT LOANS – LENDER SERVICER/SECONDARY MARKET

     Payment History             Refer to Metro 2® Format module for standard guidelines on
     Profile                     reporting up to 24 months of payment history.
     Base Segment, Field
     18                          The Payment History Profile will reflect accounts going from
                                 current to 30 days delinquent or from current to 60 days
                                 delinquent due to delayed delinquency reporting (refer to
                                 Account Status 11 above).

                                 Examples:

                                    332100000001221000000000 (first reported delinquent at
                                     30 days)
                                    332000000002200000000000 (first reported delinquent at
                                     60 days)

                                 For months during which payments were not required (i.e.,
                                 initial in-school, grace, deferment and forbearance periods):

                                    Report value D for loans that were previously in repayment.

                                    Report value B for loans that have never been in
                                     repayment.

                                     Note: If payment history was reported in error (i.e.,
                                     account mistakenly reported as in repayment), report value
                                     D.

                                 When adjusting the initial in-school or grace period status of a
                                 loan that covers one or more months previously reported in the
                                 Payment History Profile, the applicable months should be
                                 updated to reflect character D (no payment history available
                                 this month).




   12-28                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 29 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
     Special Comment             The Special Comments that apply to private student loans are
     Base Segment, Field         listed below. No other codes may be reported.
     19
                                    O – when reporting a transfer to another servicer that is not
                                     due to a loan sale. Refer to Frequently Asked Question and
                                     Answer 46 for additional reporting guidance.

                                    AC – when the borrower is paying under a partial payment
                                     agreement

                                    AH – when a loan is purchased by another company. Refer
                                     to Frequently Asked Question and Answer 47 for additional
                                     reporting guidance.

                                    AM – when account payments are assured by wage
                                     garnishment (used when payments are being made through
                                     wage garnishment on an account that has been charged off
                                     or is in collections)

                                    AS – when the account is closed due to an internal
                                     refinancing. Refer to Frequently Asked Question and
                                     Answer 42 (option 3) for additional reporting guidance.

                                    AT – when reporting an internal transfer that results in a
                                     new tradeline. Refer to Frequently Asked Question and
                                     Answer 46 for additional reporting guidance.

                                    AU – when a loan is paid in full for less than the full
                                     balance. Refer to Frequently Asked Question and Answer
                                     38 for additional reporting guidance.

                                    AW – when the borrower is affected by a natural or
                                     declared disaster. Refer to Frequently Asked Question and
                                     Answer 58 for additional reporting guidance.

                                    BT – when the borrower is required to make interest-only
                                     payments under the terms of the promissory note (e.g., a
                                     requirement to make interest-only payments during the
                                     initial in-school period).

                                    CH – when loan payments have been guaranteed or insured

                                    CO – when the loan has been permanently modified

                                 Note:

                                 Special Comment Code CP (Forbearance) should not be used
                                 for private student loans. Forbearance should be reported
                                 similarly to deferment, as per FAQ 44.




                                     CREDIT REPORTING RESOURCE GUIDE®                    12-29
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 30 of
                                      43

   PRIVATE STUDENT LOANS – LENDER /SERVICER/SECONDARY MARKET
     FCRA Compliance/Date         Refer to Metro 2® Format module and Exhibit 9 (Explanation
     of First Delinquency         and Examples of FCRA Compliance/Date of First Delinquency)
     (DOFD)                       for standard guidelines on reporting DOFD according to
     Base Segment, Field          hierarchy rules.
     25
                                  Regarding hierarchy rules 1 and 2: Report the date of the first
                                  30-day delinquency that led to the Account Status or Payment
                                  Rating being reported even though reporting of delinquency
                                  may be delayed until the loan is 60 days past the due date
                                  because the loan is subject to delayed delinquency reporting.
                                  When the Account Status is 11 (Current), zero fill the Date of
                                  First Delinquency. However, when reporting delinquent
                                  statuses, do not change/update the Date of First Delinquency
                                  unless the borrower has brought the account back to less than
                                  30 days past the due date. A borrower may be less than 60
                                  days past the due date (i.e., Account Status 11) without
                                  triggering a change to the Date of First Delinquency.

                                  (Example on next page)




   (continued)




   12-30                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 31 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

     FCRA Compliance/Date          Example:
     of First Delinquency
     (DOFD)                        Refer to table below for example of DOFD reporting for loans
     Base Segment, Field           that may not be reported as delinquent until 60 days past the
     25                            due date.
     (continued)

     Date of                              # of Days
                        Next Payment                    Account Status
     Account                              Past Due                       Date of First Delinquency
                        Due Date                        and Definition
     Information                          Date                           (Field 25)
                        (not reported)                  (Field 17A)
     (Field 24)                           (not rptd.)
                                                              11
      03/31/2019            04/15/2019         0                                   Zero fill
                                                          (Current)
      04/30/2019            04/15/2019        15              11                    Zero fill
      05/31/2019            04/15/2019        46              11                    Zero fill
                                                              78                 05/15/2019
      06/30/2019            04/15/2019        76         (60-89 days            (30 days after
                                                        past due date)      04/15/2019 due date)
                                                              80                 05/15/2019
      07/31/2019            04/15/2019        107       (90-119 days            (30 days after
                                                        past due date)      04/15/2019 due date)
                                                                                 05/15/2019
      08/31/2019            06/15/2019        77              78                (30 days after
                                                                            04/15/2019 due date)
                                                                                 05/15/2019
                                                                           (DOFD does not reset;
      09/30/2019            06/15/2019        107             80
                                                                          borrower never less than
                                                                             30 days delinquent)
                                                                                 05/15/2019
      10/31/2019            08/15/2019        77              78                (30 days after
                                                                            04/15/2019 due date)
      11/30/2019            10/15/2019        46              11                    Zero fill
                                                                                    Zero fill
                                                                           (Borrower less than 30
      12/31/2019            12/15/2019        16              11           days delinquent; DOFD
                                                                              will reset if future
                                                                                 delinquency)
      01/31/2020            12/15/2019        47              11                    Zero fill
                                                                                 01/14/2020
      02/28/2020            12/15/2019        75              78                (30 days after
                                                                            12/15/2019 due date)
                                                                                 01/14/2020
      03/31/2020            12/15/2019        106             80                (30 days after
                                                                            12/15/2019 due date)




                                      CREDIT REPORTING RESOURCE GUIDE®                         12-31
                                  Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452     INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                  EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 32 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
     Consumer Information         Used to specify that a consumer’s student loan has been
     Indicator                    included in bankruptcy or a consumer cannot be located. Refer
     Base Segment Field 38        to Exhibit 11 for a list of available indicators.
     J1 and J2 Segments –
     Field 11                     Note: Refer to FAQ 23 for guidelines on reporting an account
                                  when a consumer files bankruptcy, but the student loan is not
                                  included in the bankruptcy discharge.

     K4 Segment                   Report for deferred loans:
     Deferred Payment              Specialized Payment Indicator = 02 (Deferred payment)
     information                   Deferred Payment Start Date = date the first payment is
                                     due. If not available, report the date on which the deferred
                                     period will end.

                                  Note: If neither date is available, do not report the K4
                                  Segment.

     L1 Segment                   When account history can be verified, report one time when
     Consumer Account             account numbers change due to an account acquisition or
     Number Change                internal account number change.

                                  Refer to FAQ 46 (option 2) for guidelines on reporting when
                                  account history cannot be verified by the new servicer.




   12-32                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                 EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 33 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

     Single, Multiple and Refinanced Loans, Deferment or Forbearance, Loan
     Sales and Transfers, Co-Signer Release, Loan Defaults
     Multiple disbursements         When a loan has multiple disbursements, report the loan as
     of a single loan               one account.

                                       Retain and do not change the original Consumer Account
                                        Number when additional disbursements are reported.

                                       Retain and do not change the original Date Opened after
                                        the loan is reported.

                                       Update the Original Loan Amount, Current Balance, and
                                        Scheduled Monthly Payment Amount (when in
                                        repayment) as applicable, to include totals for all
                                        disbursements. Reduce these amount fields as
                                        applicable, due to the amount of any canceled or
                                        returned disbursements.

                                        Example: If the loan is for $10,000 and the first
                                        disbursement is for $2,000, report the Original Loan
                                        Amount field as $2,000. If an additional disbursement is
                                        made for $8,000, increase the Original Loan Amount to
                                        $10,000. If the $2,000 disbursement is subsequently
                                        canceled, reduce the Original Loan Amount to $8,000.

                                       If all disbursements are canceled or returned, report
                                        Account Status DA to delete the account.

     Multiple loans                 Multiple loans must be reported as separate accounts.

     Refinanced loans               Internal Refinancing: Refer to Frequently Asked Question
                                    and Answer 42 for reporting guidance.

                                    External Refinancing: When a loan is paid in full through
                                    refinancing, the original lender should report the loan with
                                    Account Status Code 13 and the appropriate Payment
                                    Rating.

                                    The new refinanced loan, which paid the underlying loans in
                                    full, must be reported as a new account.

     Loans in deferment or          Report private student loans in deferment or forbearance as
     forbearance when no            deferred. Refer to Frequently Asked Question and Answer
     payments are due               44 for specific reporting guidance.


   (continued)




                                    CREDIT REPORTING RESOURCE GUIDE®                      12-33
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 34 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
     Loans sold to another          Follow the standard guidelines in Frequently Asked Question
     company                        and Answer 47 for loans sold to another company.

                                    Report Special Comment Code AH.

     Loans transferred to           Follow the standard guidelines in Frequently Asked Question
     another servicer or            and Answer 46 for servicing transfers.
     lender
                                    If FAQ 46 option 2 is followed, report Special Comment Code
                                    O (Account transferred to another company/servicer).

     Loans purchased from           Follow the standard guidelines in Frequently Asked Question
     another servicer or            and Answer 48 for transfers in as a result of a loan
     lender                         purchase.

     Loans transferred in           Follow the standard guidelines in Frequently Asked Question
     from another servicer          and Answer 46 for servicing transfers. Do not change the
     or lender                      Date Opened; report the date opened with the original
                                    servicer.

     Release of Co-Signer           If the co-signer of the private student loan is released from
                                    further liability on the loan, report ECOA Code T
                                    (Terminated) for the co-signer and discontinue reporting the
                                    co-signer going forward.


   (continued)




   12-34                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 35 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

       Private student loans        Follow the standard guidelines in Frequently Asked Question
       that are transferred         and Answer 46 for servicing transfers. If option 2 is
       back to the lender by        followed, report Special Comment Code O (Account
       the servicer at the          transferred to another company/servicer).
       lender’s request at the
       time of default1             Options available to the servicer transferring the loan to the
                                    loan holder:
                                     Report Account Status Code 97 with the applicable
                                       Special Comment Code if the loan was charged off at the
                                       time of transfer.
                                     Report Account Status Code 93 if in collections at the
                                       time of transfer.

                                    The loan holder receiving the loan from the servicer should
                                    report the account as a new tradeline.

                                    Options available for the loan holder receiving the loan from
                                    the servicer:
                                     Report Account Status Code 97 if the loan is a charge
                                        off.
                                     Report Account Status Code 93 if the account is in
                                        collections.

       Private student loans        If the loans have been charged off, follow the standard
       that are not                 guidelines in Frequently Asked Questions and Answers 34 or
       transferred to the           65, as applicable.
       lender by the servicer
       at the time of default1      Loans that are in collections should be reported with Account
                                    Status 93 and the Current Balance and Amount Past Due =
                                    outstanding balance amount. Account Status 62 should be
                                    reported when the loan is paid in full.

                                    In both situations, if the account is settled for less than the
                                    outstanding balance, follow the guidance in Frequently
                                    Asked Question and Answer 38, which requires reporting
                                    Special Comment Code AU along with the applicable paid
                                    status.




   1   Refer to the Private Student Loan Glossary of Terms at the end of this section for the
       standard definition of “default” as it applies to private student loans.

                                    CREDIT REPORTING RESOURCE GUIDE®                        12-35
                                 Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                  EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 36 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
     Write-off of Private Student Loan Balances due to Death or Disability:
     For private student loans, write-off reporting requirements apply
     following approval by the loan holder. Practices among private loan
     lenders vary as to write-off options.
     Write-off of loan due to       If the loan had been in repayment prior to the student’s
     the death of a student         death, report Account Status Code 13, Payment Rating 0,
     who is not a party to          Current Balance 0, and Amount Past Due 0 to indicate a
     the loan (e.g., private        paid/closed account, along with the appropriate Date Closed.
     student loan that is           The Payment History Profile should be updated to reflect
     made to a parent)              value D for months between the date of death and the
                                    reporting period in which the loan is reported with Account
                                    Status Code 13.

                                    If the loan was in collections or charged off at the time of
                                    the student’s death, report Account Status Code 62 or 64 as
                                    appropriate, plus Current Balance 0 and Amount Past Due 0
                                    to indicate a paid/closed account, along with the appropriate
                                    Date Closed.

                                    If payments on the loan were not yet required, the tradeline
                                    should be deleted. Report Account Status Code DA to
                                    delete the account.

                                    ECOA Code X should not be reported because the student
                                    who is deceased is not a party to the loan. ECOA Code X
                                    must be reported only when a party to the loan is deceased.
                                    Refer to Frequently Asked Question and Answer 19 for
                                    reporting when a party to the loan is deceased.

     Write-off of loan due to       If the loan had been in repayment prior to the death of a
     the death of a party to        party to the loan, report Account Status Code 13, Payment
     the loan                       Rating 0, Current Balance 0, and Amount Past Due 0 to
                                    indicate a paid/closed account, along with the appropriate
                                    Date Closed. Report ECOA Code X in the applicable Base or
                                    J1/J2 Segment for the deceased party as described in
                                    Frequently Asked Question and Answer 19.

                                    If the loan was in collections or charged off at the time of
                                    the party’s death, report Account Status Code 62 or 64 as
                                    appropriate, plus Current Balance 0 and Amount Past Due 0
                                    to indicate a paid/closed account, along with the appropriate
                                    Date Closed.

                                    If payments on the loan were not yet required, the tradeline
                                    should be deleted. Report Account Status Code DA to
                                    delete the account.

                                    Note: When there are multiple parties to the loan (e.g.,
                                    borrower and co-signer), the death of the co-signer may not
                                    cause the loan to be written off and the borrower may
                                    continue to be obligated. In that instance, report ECOA
                                    Code X for the co-signer and continue to report the account
                                    for the borrower.

   12-36                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 37 of
                                      43


   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
     Write-off of loan due to       If a write-off due to disability is granted by the lender,
     disability of the              report the account as follows:
     borrower
                                       If the effective date of the disability is prior to the date
                                        the loan entered repayment, or is prior to the date that
                                        the lender or servicer began reporting the loan, report
                                        Account Status DA to delete the account.

                                       If the loan had been in repayment prior to the effective
                                        date of the borrower’s disability, report Account Status
                                        Code 13, Payment Rating 0, Current Balance 0 and
                                        Amount Past Due 0 to indicate a paid/closed account,
                                        along with the appropriate Date Closed.

                                        The Payment History Profile should be updated to reflect
                                        value D (no payment history available this month) for
                                        months between the effective date of the disability and
                                        the reporting period in which the loan is reported with
                                        Account Status 13. Adjustments to months earlier than
                                        the previous 24 months prior to the Date of Account
                                        Information must be corrected by submitting an AUD
                                        through e-OSCAR®.

                                        Note: The effective date of the disability write-off will
                                        vary according to lender policy. Common triggers
                                        include the date of the doctor’s certification, the date the
                                        lender receives the disability request, or the date the
                                        lender approves the disability request. Any
                                        delinquencies that occurred prior to the effective date of
                                        the disability should remain on the file and should not be
                                        deleted.

                                        Date of Account Information = Report a date within the
                                        current month’s reporting period even if the paid
                                        effective date was in a prior month. Refer to Frequently
                                        Asked Question and Answer 39.

                                        Date Closed = Date the disability write-off was approved
                                        by the lender.

                                       If the loan was in collections or charged off at the time of
                                        the effective date of the borrower’s disability, report
                                        Account Status Code 62 or 64 as appropriate, plus
                                        Current Balance 0 and Amount Past Due 0 to indicate a
                                        paid/closed account, along with the appropriate Date
                                        Closed.




                                    CREDIT REPORTING RESOURCE GUIDE®                         12-37
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT                     EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 38 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

      Rehabilitated Private Student Loans
      Section 623(a)(1) of the Fair Credit Reporting Act [15 U.S.C. 1681s-2(a)(1)] was
      amended by the Economic Growth, Regulatory Relief, and Consumer Protection Act
      (EGRRCPA) to provide that, a consumer may request a lender to remove from a
      consumer report a reported “default” regarding a private student loan, and such
      information shall not be considered inaccurate, if the lender chooses to offer a private
      student loan rehabilitation program that meets the requirements of section 623(a)(1).
      The term “default” as used in EGRRCPA is not a defined term for purposes of private
      student loans, but the student loan industry generally regards loans that are either in
      collections (Account Status Code 93) or charged off (Account Status Code 97) as being
      in default.

      Note: Refer to the Private Student Loan Glossary of Terms at the end of this section for
      the standard definition of “default” as it applies to private student loans.

      Reporting guidance on following pages.




   12-38                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT             EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 39 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

      Rehabilitated private         Servicer reporting:
      student loan that had
      been transferred back         If the servicer’s Account Number is changed from the
      to the lender at the          original number, report an L1 Segment.
      lender’s request at
      time of default and           Follow the guidance below depending on the Account Status
      returns to the same           Code previously reported:
      servicer post-                 If the servicer had previously reported a loan as
      rehabilitation                    charged-off using Account Status Code 97, the servicer
                                        must remove the Account Status Code 97 and the
                                        Payment History Profile code L if the loan is later
                                        rehabilitated. Begin reporting Account Status Code 11
                                        once the loan is rehabilitated.
                                     If the servicer had previously reported a loan as being
                                        in collections using Account Status Code 93, the servicer
                                        must remove the Account Status Code 93 and the
                                        Payment History Profile code G if the loan is later
                                        rehabilitated. Begin reporting Account Status Code 11
                                        once the loan is rehabilitated.

                                    Payment History Profile = In both situations described
                                    above, report value D (no payment history available this
                                    month) in the positions representing the months going back
                                    to the effective date of the rehabilitation. Adjustments to
                                    months earlier than the previous 24 months prior to the
                                    Date of Account Information must be corrected by
                                    submitting an AUD through e-OSCAR®.

                                    Note: If the servicer had only reported the account as
                                    delinquent, using the Account Status Code applicable to the
                                    level of delinquency, and has not reported the loan as in
                                    collections (Account Status Code 93) or as a charge-off
                                    (Account Status Code 97), no changes to prior reporting
                                    are needed if the loan is later rehabilitated. Begin reporting
                                    Account Status Code 11 once the loan is rehabilitated.

                                    Lender reporting:

                                    If the lender reported either Account Status Code 93 (in
                                    collections) or Account Status Code 97 (charge-off) during
                                    the period that it held the loan, the tradeline should be
                                    deleted when the loan is successfully rehabilitated by
                                    reporting Account Status Code DA.


   (continued)




                                    CREDIT REPORTING RESOURCE GUIDE®                     12-39
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 40 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

      Rehabilitated private          Former Servicer reporting:
      student loan that had
      been transferred back             If the servicer had previously reported a loan as
      to the lender at the               charged-off using Account Status Code 97, the servicer
      lender’s request at the            must remove the Account Status Code 97 and the
      time of default and is             Payment History Profile code L if the loan is later
      assigned to a different            rehabilitated.
      servicer post-                    If the servicer had previously reported a loan as being
      rehabilitation                     in collections using Account Status Code 93, the servicer
                                         must remove the Account Status Code 93 and the
                                         Payment History Profile code G if the loan is later
                                         rehabilitated.

                                     Payment History Profile = In both situations described
                                     above, report value D (no payment history available this
                                     month) in the positions representing the months going back
                                     to the effective date of the rehabilitation. Adjustments to
                                     months earlier than the previous 24 months prior to the
                                     Date of Account Information must be corrected by
                                     submitting an AUD through e-OSCAR®.

                                     Note: If the servicer had only reported the account as
                                     delinquent, using the Account Status Code applicable to the
                                     level of delinquency, and had not reported the loan as in
                                     collections (Account Status Code 93) or as a charge-off
                                     (Account Status Code 97), no changes to prior reporting
                                     are needed if the loan is later rehabilitated.

                                     New Servicer reporting:

                                     If the private student loan is rehabilitated, the new
                                     lender/servicer should report the loan as a new account
                                     going forward. Payment history reported prior to the
                                     default should not be included with the new account.

                                     Lender reporting:

                                     If the lender reported either Account Status Code 93 (in
                                     collections) or Account Status Code 97 (charge-off) during
                                     the period that it held the loan, the tradeline should be
                                     deleted when the loan is successfully rehabilitated by
                                     reporting Account Status Code DA.



   (continued)




   12-40                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 41 of
                                      43

   PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

      Rehabilitated private         Servicer reporting:
      student loan that
      continued to be held by       If the servicer’s Account Number is changed from the
      the servicer and was          original number, report an L1 Segment.
      not transferred back to
      the lender at the             Follow the guidance below depending on the Account Status
      lender’s request at           Code previously reported:
      time of default                If the servicer had reported a loan as charged-off using
                                        Account Status Code 97, the servicer must remove the
                                        Account Status Code 97 and the Payment History Profile
                                        code L if the loan is later rehabilitated. Begin reporting
                                        Account Status Code 11 once the loan is rehabilitated.
                                     If the servicer had reported a loan as being in
                                        collections using Account Status Code 93, the servicer
                                        must remove the Account Status Code 93 and the
                                        Payment History Profile code G if the loan is later
                                        rehabilitated. Begin reporting Account Status Code 11
                                        once the loan is rehabilitated.

                                    Payment History Profile = In both situations described
                                    above, report value D (no payment history available this
                                    month) in the positions representing the months going back
                                    to the effective date of the rehabilitation. Adjustments to
                                    months earlier than the previous 24 months prior to the
                                    Date of Account Information must be corrected by
                                    submitting an AUD through e-OSCAR®.

                                    Note: If the servicer had only reported the account as
                                    delinquent, using the Account Status Code applicable to the
                                    level of delinquency, and had not reported the loan as in
                                    collections (Account Status Code 93) or as a charge-off
                                    (Account Status Code 97), no changes to prior reporting
                                    are needed if the loan is later rehabilitated. Begin reporting
                                    Account Status Code 11 once the loan is rehabilitated.




                                    CREDIT REPORTING RESOURCE GUIDE®                     12-41
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT               EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 42 of
                                      43

   PRIVATE STUDENT LOAN GLOSSARY OF TERMS
   Charge-off
   Private student loan lenders employ various criteria as to when they may consider a
   loan charged off. The period of time from delinquency to charge off varies from 60
   days to 221 days, with 120 days delinquent being a common period used by private
   student loan lenders.

   Default
   The term “default” is not a defined term for purposes of private student loans as it is for
   federal student loans, but it is used as the trigger for private loan rehabilitation in the
   Economic Growth, Regulatory Relief, and Consumer Protection Act (EGRRCPA), which
   amends section 623(a)(1) of the Fair Credit Reporting Act (FCRA). The student loan
   industry and the consumer reporting industry have agreed on the following standard
   definition of default as it applies to private student loans. A private student loan is
   considered to be “defaulted” when (1) it is placed in collections (Account Status Code
   93) or (2) when it is charged off (Account Status Code 97).

   Disability Write-off (Reduction/elimination of the outstanding loan balance)
   Some lenders may offer relief for borrowers who provide documentation of disability;
   the lender may write off or forgive the loan. These programs may be modelled on the
   Department of Education’s criteria for total and permanent disability (TPD) discharge,
   or the lender may employ its own criteria. The effective date of the write-off may vary
   as well; some lenders employ the date that a doctor provided a certificate of disability,
   while others use the date that the lender approved the disability write-off.

   Grace Period
   For some private student loans, the period of time between the end of the initial in-
   school period and the date repayment of the student loan is expected to begin.

   Initial In-School Period
   For some private student loans, the period of time immediately following the loan
   disbursement when the borrower is attending school and repayment is not required.

   Lender
   A bank, credit union, savings and loan association, insurance company, state agency,
   non-profit organization, or other lending institution, which makes or holds private
   student loans.

   Rehabilitated Loans
   Section 623(a)(1) of the Fair Credit Reporting Act [15 U.S.C. 1681s-2(a)(1)] was
   amended by the Economic Growth, Regulatory Relief, and Consumer Protection Act
   (EGRRCPA) to provide that, a consumer may request a lender to remove from a
   consumer report a reported “default” regarding a private student loan, and such
   information shall not be considered inaccurate, if the lender chooses to offer a private
   student loan rehabilitation program that meets the requirements of section 623(a)(1).
   The term “default” as used in EGRRCPA is not a defined term for purposes of private
   student loans, but the student loan industry generally regards loans that are either in
   collections (Account Status Code 93) or charged off (Account Status Code 97) as being
   in default.




   12-42                        CREDIT REPORTING RESOURCE GUIDE®
                            Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT          EXHIBIT 3
Case 1:20-cv-00452-WJM-SKC Document 63-3 Filed 10/27/20 USDC Colorado Page 43 of
                                      43

   PRIVATE STUDENT LOAN GLOSSARY OF TERMS
   Secondary Market
   An entity which purchases student loan obligations from participating lenders in a
   secondary market and pays lenders par, premium or discount on the original principal
   balance of the note. A secondary market may also service the loans that it purchases.

   Servicer
   An organization that services (i.e., processes) a student loan debt following origination,
   to ensure due diligence of the debt with respect to enforcement of the terms of the
   promissory note as defined under Federal regulations. A servicer collects payments,
   responds to customer service inquiries, and performs other administrative tasks
   associated with maintaining a federal or private student loan on behalf of a lender.

   Write-off
   Some lenders may write off the outstanding balance of a private student loan under
   certain circumstances such as the death or disability of the borrower. Policies vary
   from lender to lender. This document uses the term “write-off” for consistency’s sake
   but be aware that different lenders may use various terms such as write-off or
   forgiveness or discharge to describe the process. Forgiveness or discharge of private
   student loans should not be confused with forgiveness and discharge in the federal
   student loan programs. And write-off is not the same as charge-off; it is merely the
   reduction/elimination of the outstanding loan balance on the lender’s books.




                                    CREDIT REPORTING RESOURCE GUIDE®                  12-43
                                Copyright 2020 © Consumer Data Industry Association
   CASE NO. 1:20-CV-00452   INNOVIS ANSWER TO GRAYS SECOND AMENDED COMPLAINT           EXHIBIT 3
